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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

                                             §
                                             §
IN RE: ROBERTO RICO DURAN                    §       CASE NO: 2:18-MC-00058
                                             §
                                             §

                 PETITIONER MARIA BLANCA GOMEZ ARELLANO’S
                 VERIFIED PETITION TO PERPETUATE TESTIMONY

       Petitioner, Blanca Gomez Arellano, respectfully requests permission from this Court to

depose by oral examination Roberto Rico-Duran for the purpose of perpetuating his testimony

for use in an anticipated suit as authorized by Federal Rule of Civil Procedure 27.


                                    I.      BACKGROUND

       1.      Petitioner, Maria Blanca Gomez Arellano, is the mother of Martin Gomez

Arellano. Martin Gomez Arellano died inside a tractor-trailer allegedly driven by Juan Enrique

Escobedo-Moreno after the tractor-trailer was impounded by United States Customs and Border

Protection agents at the Border Patrol checkpoint near Falfurrias, Texas, in October 2017. Mr.

Escobedo-Moreno has been charged with a number of crimes related to this incident. See United

States v. Juan Enrique Escobedo-Moreno, Case no. 2:17-CR-677-1, S.D.Tex.—Corpus Christi

Division, filed October 25, 2017 (Magistrate case 2:17-MJ-01015).

       2.      Mr. Rico-Duran was found inside the same tractor-trailer, and has been held in

custody as a material witness in the criminal action against Mr. Escobedo-Moreno.

       3.      Petitioner is anticipating a civil action against United States Customs and Border

Protection (CBP) under the Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§ 2671-2680, and

seeks to perpetuate the testimony of Mr. Rico-Duran for use in that action. Fed. R. Civ. P. 27.



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                                    II.      JURISDICTION

       4.      The Court has jurisdiction over this petition. This Court has subject matter

jurisdiction over the anticipated litigation pursuant to 28 U.S.C. §1331 in that the action arises

under the laws of the United States of America and is premised on the acts and omissions of the

United States acting under color of federal law. This court further has subject matter jurisdiction

pursuant to 28 U.S.C. §1346(b) because the claim is against the United States of America for

money damages that accrued after January 1, 1945 for a death caused by wrongful or negligent

acts and omissions of United State’s employees while acting within the course and scope of their

employment, and under the same or similar circumstances, a private person would be liable to

Petitioner.

       5.      As required by Federal Rule of Civil Procedure 27, Petitioner attaches a

declaration verifying the facts within her personal knowledge that form the basis of the

anticipated claims.

                                      III.    ARGUMENT

       6.      On or about October 3, 2017, CBP impounded a tractor-trailer at the Falfurrias

checkpoint, in Brooks County, Texas. The vehicle was impounded after agents discovered an

undocumented man inside the interior sleeping compartment, who was later identified as Mr.

Rico-Duran. The driver and undocumented man were both taken into custody.

       7.      On or about October 6, 2017, CBP agents contacted the Brooks County Sheriff’s

Office to investigate a suspicious liquid leaking from the rear compartment of the tractor-trailer.

Upon investigation, Martin Gomez Arellano’s body was discovered inside the tractor-trailer.




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        8.      Petitioner anticipates that she will be a party to a lawsuit pursuant to the FTCA

involving negligence and other wrongful acts by anticipated Defendant United States of America

resulting in Mr. Gomez Arellano’s death.

        9.      Petitioner cannot bring the suit at this time due to ongoing factual investigation

and the requirement under the FTCA to first exhaust an administrative remedy with the agency

in question (CBP in this case), a process that can take up to six months.

        10.     Petitioner’s interest in the anticipated suit is as the next of kin plaintiff and

beneficiary of any recovery against the United States.

        11.     Petitioner has not brought or been a part to a suit that arises out of the facts that

are the subject of this petition.

        12.     The following persons (among others who remain unidentified at this time) may

have an interest adverse to petitioner in the anticipated suit: United States of America,

Department of Homeland Security, United States Customs and Border Protection, and their

agents and employees.

                                    IV.   REQUEST TO DEPOSE

        13.     Petitioner asks the Court to issue an order authorizing her to examine the

following person by oral deposition:


                                          Roberto Rico-Duran
                                       c/o Jeanette Cantu Bazar
                                         Prosperity Bank Bldg.
                                     500 N. Water Street, Suite 620
                                      Corpus Christi, Texas 78401
                                             361-882-1559
                                           361-882-1895 Fax
                                          cantubazar@att.net




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        14.     Attorney Cantu-Bazar has been appointed to represent Mr. Rico-Duran as

material witness in the criminal case against Mr. Escobedo-Moreno, 2:17-CR-677-1, currently

pending before this Court.

        15.     Petitioner expects to elicit the following testimony from Mr. Rico-Duran:

                a) Testimony regarding Mr. Gomez Arellano’s presence inside the sleeping

                    compartment of the tractor-trailer driven by Mr. Escobedo Moreno.

                b) Testimony regarding Mr. Gomez Arellano’s location within the tractor-trailer.

                c) Testimony regarding Mr. Gomez Arellano’s physical condition prior to Mr.

                    Rico-Duran’s seizure by Customs and Border Protection officers, including

                    the last time Mr. Rico-Duran saw Mr. Gomez Arellano alive.

                d) Testimony regarding the search and inspection, or lack thereof, of the tractor-

                    trailer conducted by United States Customs and Border Protection agents.

                e) Testimony regarding any interrogations and/or conversations between Mr.

                    Escobedo-Moreno and/or Mr. Rico Duran and Border Patrol agents.

                f) Testimony regarding the location where the tractor-trailer departed from in

                    South Texas, and related information.

        16.     Petitioner seeks to perpetuate the testimony of this witness because Mr. Rico-

Duran, a Mexican national, is at risk of being subject to deportation after the conclusion of the

criminal case for which he is a material witness, and therefore will likely not be available for the

trial of Petitioner’s anticipated action.

        17.     On January 4, 2018, Mr. Rico-Duran, through his attorney, requested that his

deposition be taken in the context of the criminal case for which he is a witness, so that he can be




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released from custody. USA v. Escobedo-Moreno, 2:17-CR-677-1, S.D.Tex, Dkt. No. 35,

January 4, 2018. The Court denied this request.

       18.     Petitioner intends to file an advisory in that criminal action immediately after

filing this petition, so that the court may be aware of Petitioner’s request.

                                      V.      CONCLUSION

       19.     Petitioner Maria Blanca Gomez Arellano requests permission from this Court to

depose Roberto Rico-Duran for the purpose of securing testimony for anticipated FTCA

litigation regarding the death of her son, Martin Gomez Arellano. This deposition is necessary

because the potential litigation is delayed by the requirement that FTCA claims be first submitted

as an administrative complaint (including the six-month timeline for the agency’s response) and

Mr. Rico-Duran’s potential removal from the United States.

       20.     For these reasons, petitioner asks the Court to set this petition for hearing as soon

as possible and, after the hearing, order the deposition of Mr. Roberto Rico Duran.


                                               Respectfully submitted,



                                                 /s/ Efrén C. Olivares
                                               Efren C. Olivares
                                               Texas Bar No. 24065844
                                               Federal Admissions No. 1015826
                                               Texas Civil Rights Project
                                               P. O. Box 219
                                               1017 W. Hackberry Avenue
                                               Alamo, Texas 78516
                                               (956) 787-8171
                                               (956) 787-6348 Fax
                                               efren@texascivilrightsproject.org

                                               ATTORNEY FOR PETITIONER




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                                CERTIFICATE OF SERVICE

I certify that the foregoing petition will be served on the United States of America, in accordance
with Fed. R. Civ. P. 27 and 4(i), by delivering a copy to:

Customs and Border Protection                         Attorney General of the United States
Office of Chief Legal Counsel                         U.S. Department of Justice
Scott K. Falk                                         950 Pennsylvania Ave., NW
1300 Pennsylvania Ave. NW                             Washington, D.C. 20530-0001
Washington, D.C. 20229                                [In Re: Roberto Rico-Duran]

U.S. Attorney’s Office (DHS – CBP)
One Shoreline Plaza South Tower
800 N. Shoreline Blvd., Ste. 500
Corpus Christi, TX 78401

I further certify that on a copy of Petitioner Maria Blanca Gomez Arellano’s Verified Petition to
Perpetuate Testimony will be served contemporaneously to the counsel of record in Criminal
Action No. 2:17-CR-677-1, electronically by the CM/ECF system, which will automatically
serve a notice of electronic filing, by e-mail or facsimile, on the following:

Robert Douglas Thorpe, Jr.                          Jeanette Cantu Bazar
Assistant U.S. Attorney                             Prosperity Bank Bldg.
800 N. Shoreline, Suite 500                         500 N. Water Street, Suite 620
Corpus Christi, Texas 78401                         Corpus Christi, Texas 78401
361-888-3111                                        361-882-1559
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361-888-3532
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                                              /s/ Efrén C. Olivares
                                             Efrén C. Olivares




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                           CERTIFICATE OF CONFERENCE

       I hereby certify that I have conferred with Attorney Jeanette Cantu-Bazar, attorney for
Mr. Rico-Duran, regarding this Petition, and she stated that she is not opposed to the relief
requested.


                                             /s/ Efrén C. Olivares
                                           Efrén C. Olivares




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